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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                        IN THE UNITED STATES DISTRICT COURT                          October 07, 2020
                        FOR THE SOUTHERN DISTRICT OF TEXAS                          David J. Bradley, Clerk
                                  HOUSTON DIVISION

IN RE:                                 §
                                       §        CASE NO. 19-34698
KP ENGINEERING, LP, et al.,            §        CHAPTER 11
                                       §
                  Debtors,            §         DAVID R. JONES
                                       §
                                       §
_____________________________________________________________________________

OFFICIAL COMMITTEE OF UNSECURED §
CREDITORS OF KP ENGINEERING, LP §
AND KP ENGINEERING, LLC         §
                                §
                                §                          CIVIL ACTION NO. H-20-3087
                Plaintiffs,     §
                                §                          ADVERSARY NO. 20-03035
VS.                             §
                                §
BRANDON T. STEELE, et al.,      §
                                §
                Defendants.     §

              ORDER ADOPTING REPORT AND RECOMMENDATION TO
             THE UNITED STATES DISTRICT COURT TO WITHDRAW THE
                  REFERENCE OF AN ADVERSARY PROCEEDING

         Ric Steele, Ken Baxter, and Tony Freeman, the defendants and counter-plaintiffs in

Adversary Proceeding No. 20-3035, moved to withdraw the reference or to sever and withdraw

the reference. The Bankruptcy Court recommended that the District Court withdraw the reference

for trial only. This court agrees.

         KP Engineering, LP and its affiliate, KP Engineering, LLC, filed a voluntary Chapter 11

petition in August 2019. An order for joint administration was entered. (Docket Entry No. 39,

Case No. 19-34698). In June 2020, the Bankruptcy Court confirmed KP’s third amended joint

Chapter 11 plan of reorganization. (Docket Entry No. 575, Case No. 19-34698). In February
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2020, the Official Committee of Unsecured Creditors initiated the adversary proceeding against

ten former affiliates and insiders to recover alleged preferential and fraudulent transfers totaling

approximately $100 million. (Docket Entry No. 1). Under the Plan terms, the Liquidating Trustee

is the proper plaintiff in the adversary proceeding.

       The defendants timely requested a jury trial and did not file proofs of claim in the main

bankruptcy case. The defendants did not consent to a trial before the Bankruptcy Court. Ken

Baxter, Ric Steel, and Tony Freeman moved to withdraw the reference, and the remaining

defendants joined the motion. The primary basis is the right to a jury trial.

       The Liquidating Trustee responded that he does not contest the defendants’ right to a jury

trial before the District Court, but he also explained why pretrial matters should remain before the

Bankruptcy Court.

       The Bankruptcy Court heard the motions in August 2020. All parties agreed that the

reference must be withdrawn because of the jury-trial right. The parties disputed when the

reference should be withdrawn.

       The defendants timely requested a jury trial and do not consent to a jury trial before the

Bankruptcy Court. The claims are predominantly legal claims, and remedies sought by the

Liquidating Trustee are legal in nature. The defendants have not filed proofs of claim in the

underlying bankruptcy case, and at least one of the defendants is entitled to a jury trial. Because

no defendant consents to a jury trial before the Bankruptcy Court, withdrawal of the reference is

required under 28 U.S.C. § 157(d).

       In view of the nature of the claims asserted by the Liquidating Trustee, the Bankruptcy

Court’s familiarity with the case, and the predominance of bankruptcy issues, this court adopts the




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Bankruptcy Court’s recommendation that it handle pretrial matters. The reference is withdrawn

for trial only. All pretrial matters remain with the Bankruptcy Court.

               SIGNED on October 7, 2020, at Houston, Texas.


                                             _______________________________________
                                                                Lee H. Rosenthal
                                                         Chief United States District Judge




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